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                       EXHIBIT 2
                  Email Correspondence with
         New Orleans Field Office Director Mellissa Harper
                              April 23, 2025
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Good evening,                                   15


I represent Mr. Adiel Mendez, father of V       L      M       L      (11) and V          L     M
L      (3). It is my understanding that Ms. V       and V          accompanied their mother, Ms. Jenny
Carolina Lopez Villelga to her ICE Check-In and that these children are still in your custody without
notification to any of their family members, in direct contravention to your directive ICE Directive
11064.3. Please note the following clauses that your office has failed to adhere to:



5.2 (3): "Unless ICE is effectuating an enforcement action against the minor child(ren), ICE personnel
should under no circumstances take custody of or transport the minor child(ren)." Please note that
Valentina Lizeth is a US Citizen and both girls have been held under custody for more than 12
hours.



5.3(2) In the limited circumstances in which detention is appropriate, the FODs must place the Covered
Individual as close as practicable to the noncitizen’s minor child(ren). No effort has been made to
contact Mr. Mendez about his daughters or inform him of their whereabouts.



5.7(1) FODs must afford such detained Covered Individuals a reasonable opportunity to make a
decision regarding the care or travel of their minor child(ren) or incapacitated adult for whom they serve
as legal guardian, as well as to consult with counsel and a means by which to communicate with
consulates and consular officials, notaries, courts, guardians ad litem, or family members in the
appropriate time preceding removal in order to execute necessary documents (e.g., powers of attorney,
passport applications, appointments of guardians, or other permissions), purchase airline tickets, and
make necessary preparations prior to removal. Ms. Lopez has not been able to contact me or
communicate with her husband about her children. Her husband was only allowed a 40
second phone call that was cut short by an ICE officer upon trying to connect Ms. Lopez to
counsel.



5.7 (4) Factors to consider when facilitating reunification of a parent or legal guardian with their minor
child(ren) prior to removal include, but are not limited to: Whether the other parent is in the United
States or if the other parent has given permission for the minor child(ren) to return to the country of
removal with the noncitizen parent or legal guardian. Mr. Mendez has not given consent for his
daughters to return to the designated country of removal.




Your office's lack of care towards children and denial of access to counsel are a blatant denial of due
process. It is also my understanding that Ms. Lopez is pregnant which only makes these denials more
egregious.



I am requesting the following actions be taken immediately:



      A pause on executing Ms. Lopez's order of removal until Mr. Mendez and Ms. Lopez have been able
      to speak and the Parental Interest protocol is respected, as well as her release.
      V       and Ms. V         's immediate release to their family members
      A legal call scheduled between myself and Ms. Lopez
      Contact information for the Parental Interest Coordinator assigned to Ms. Lopez's case
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Please see attached my bar card, drivers license, a G-28 from Mr. Adiel Mendez, his daughters' birth
certificates listing that Mr. Mendez is their biological parent, and a properly executed provisional custody
by mandate for his daughters to allow their aunt Ms.                       , to come pick them up.




                     Fatima Khan she/they


                     Supervising Attorney

                     1120 Government Street Baton Rouge, LA 70802;

                     office: (225)-239-7819 |


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